Case 3:23-cv-12383-MAS-RLS Document 4 Filed 11/22/23 Page 1 of 9 PageID: 17




                 UNITED STATES DISTRICT COURT FOR
                    THE DISTRICT OF NEW JERSEY


IN RE: JOHNSON & JOHNSON                 MDL NO. 2738 (MAS) (RLS)
TALCUM POWDER PRODUCTS
MARKETING, SALES PRACTICES,
AND PRODUCTS LIABILITY                   AMENDED COMPLAINT AND
LITIGATION                               JURY DEMAND

GENIA EPELBAUM TAUB

                                                           3:23-cv-12383
                                         Civil Action No.: _______________


                  Plaintiff,

v.                                       DIRECT FILED ACTION
JOHNSON & JOHNSON, ET AL.




                  Defendants.
            FIRST AMENDED SHORT FORM COMPLAINT
                AND DEMAND FOR JURY TRIAL FILED
               PURSUANT TO FED. R. CIV. P. 15(a)(1)(B)
     The Plaintiff(s) named below file(s) this Short Form Complaint and

Demand for Jury Trial against Defendants named below by and through the



                                     1
 Case 3:23-cv-12383-MAS-RLS Document 4 Filed 11/22/23 Page 2 of 9 PageID: 18




undersigned counsel. Plaintiff(s) incorporate(s) by reference the allegations

contained in Plaintiffs’ Master Long Form Complaint in In re: Talcum Powder

Products Marketing, Sales Practices, and Products Liability Litigation, MDL No.

2738 in the United States District Court for the District of New Jersey. Plaintiff(s)

file(s) this Short Form Complaint as permitted by Case Management Order No. 1

of this Court.

      In addition to those causes of action contained in Plaintiffs’ Master Long

Form Complaint, where certain claims require specific pleadings and/or

amendments, Plaintiff(s) shall add and include them herein.

                          IDENTIFICATION OF PARTIES

Identification of Plaintiff(s)

1.     Name of individual injured due to the use of talcum powder product(s):
Genia Epelbaum Taub
                                                                                    .

2.    At the time of the filing of the specific case, Plaintiff(s) is/are a citizen of:
Woodbury                                 NY
                                     ,                                              .

3.     Consortium Claim(s): The following individual(s) allege damages for
                      Stewart Taub
loss of consortium:




                                              2
Case 3:23-cv-12383-MAS-RLS Document 4 Filed 11/22/23 Page 3 of 9 PageID: 19




4.     Survival and/or Wrongful Death Claims:

          Name and residence of Decedent Plaintiff when she suffered the talcum
                                                     Not Applicable
powder product(s) related death:




                                         07/06/1963
5.    Plaintiff/Decedent was born on                                       and died on
Not Applicable .

6.     Plaintiff is filing this case in a representative capacity as the
Not Applicable
                                     of the                                   , having

been duly appointed as the                                           by the

                                     Court of

                                                                                    .

7.    As a result of using talcum powder products, Plaintiff/Decedent suffered

personal and economic injur(ies) that are alleged to have been caused by the use of

the products identified in Paragraph 16 below, but not limited to, the following:

                         injury to herself

                         injury to the person represented

                         wrongful death

                         survivorship action

                         economic loss


                                             3
Case 3:23-cv-12383-MAS-RLS Document 4 Filed 11/22/23 Page 4 of 9 PageID: 20




                           loss of services

                           loss of consortium
                                    All other damages provided by law
                           other:

Identification of Defendants

8.      Plaintiff(s)/Decedent Plaintiff(s) is/are suing the following Defendant(s)

(please check all that apply)1:

                Johnson & Johnson

                Johnson & Johnson Consumer Inc.

                Imerys Talc America, Inc. (“Imerys Talc”)

                Personal Care Products Council (“PCPC”)

Additional Defendants:

                Other(s) Defendant(s) (please specify): Johnson & Johnson HoldCo (NA), Inc.
LTL Management LLC, Janssen Pharmaceuticals, Inc, Kenvue Inc.


                              JURISDICTION & VENUE
Jurisdiction:

9.     Jurisdiction in this Short Form Complaint is based on:

                Diversity of Citizenship

                Other (The basis of any additional ground for jurisdiction must be

1
  If additional Counts and/or Counts directed to other Defendants are alleged by the specific
Plaintiff(s) as to whom this Short Form Complaint applies, the specific facts supporting these
allegations must be pleaded by the Plaintiff(s) in a manner complying with the requirements of
the Federal Rules of Civil Procedure, and the Defendants against whom they are alleged must be
specifically identified on a separate sheet of paper attached to this Short Form Complaint.

                                              4
Case 3:23-cv-12383-MAS-RLS Document 4 Filed 11/22/23 Page 5 of 9 PageID: 21




pled in sufficient detail as required by the applicable Federal Rules of Civil

Procedure).



Venue:

10.    District Court(s) and Division (if any) in which venue was proper where you

might have otherwise filed this Short Form Complaint absent the direct filing Order

entered by this Court and to where remand could be ordered by the Judicial Panel

for trial: United States District Court, District of New Jersey             .

                             CASE SPECIFIC FACTS

11. Plaintiff(s) currently reside(s) in (City, State):
Woodbury                       , NY                                         .

12.   At the time of the Plaintiff’s/Decedent’s diagnosis with a talcum powder

product(s) injury, Plaintiff/Decedent resided in (City, State):
Woodbury                        , NY                                        .

13.   The Plaintiff/Decedent was diagnosed with a talcum powder product(s)

injury in (City/State): Long Island                      , NY

on                 9/18/2017                   (date).

14.   To the best of Plaintiff’s knowledge, Plaintiff/Decedent began using talcum

powder product(s) on or about the following date:                 1963

and continued the use of talcum powder product(s) through about the following date:



                                           5
Case 3:23-cv-12383-MAS-RLS Document 4 Filed 11/22/23 Page 6 of 9 PageID: 22



                         1986                         .

15.    The Plaintiff/Decedent purchased talcum powder product(s) in the following

(State(s)):
              New York                                                             .

16.     Plaintiff/Decedent used the following talcum powder products:

                Johnson & Johnson’s Baby Powder

                Shower to Shower

                                CAUSES OF ACTION

17.    Plaintiff(s) hereby adopt(s) and incorporate(s) by reference the Master

Long Form Complaint and Jury Demand as if fully set forth herein.

18.    The following claims and allegations asserted in the Master Long Form

Complaint and Jury Demand are herein adopted by reference by Plaintiff(s):

               Count I: Products Liability – Strict Liability – Failure to Warn

       (Against Imerys Talc)

               Count II: Products Liability – Strict Liability – Failure to Warn

       (Against the Johnson & Johnson Defendants)

               Count III: Products Liability – Strict Liability – Defective

       Manufacturer and Design (Against Imerys Talc)

               Count IV: Products Liability – Strict Liability – Defective

       Manufacturer and Design (Against the Johnson & Johnson Defendants)

               Count V: Breach of Express Warranties (Against the Johnson &


                                            6
Case 3:23-cv-12383-MAS-RLS Document 4 Filed 11/22/23 Page 7 of 9 PageID: 23




     Johnson Defendants)

           Count VI: Breach of Implied Warranty of Merchantability (Against

     the Johnson & Johnson Defendants)

           Count VII: Breach of Implied Warranty of Fitness for a Particular

     Purpose (Against the Johnson & Johnson Defendants)

           Count VIII: Negligence (Against Imerys Talc)

           Count IX: Negligence (Against the Johnson & Johnson Defendants)

           Count X: Negligence (Against PCPC)

           Count XI: Negligent Misrepresentation (Against the Johnson &

     Johnson Defendants)

           Count XII: Fraud (Against the Johnson & Johnson Defendants)

           Count XIII: Fraud (Against PCPC)

           Count XIV: Violation of State Consumer Protection Laws of the State

     of New York, New Jersey      (Against the Johnson & Johnson Defendants).

           Count XV: Fraudulent Concealment (Against Imerys Talc)

           Count XVI: Fraudulent Concealment (Against the Johnson & Johnson

     Defendants)

           Count XVII: Fraudulent Concealment (Against PCPC)

           Count XVIII: Civil Conspiracy (Against All Defendants)

           Count XIX: Loss of Consortium (Against All Defendants)


                                       7
Case 3:23-cv-12383-MAS-RLS Document 4 Filed 11/22/23 Page 8 of 9 PageID: 24




             Count XX: Punitive Damages (Against All Defendants)

             Count XXI: Discovery Rule and Tolling (Against All Defendants)

             Count XXII: Wrongful Death (Against All Defendants)

             Count XXIII: Survival Action (Against All Defendants)

             Furthermore, Plaintiff(s) assert(s) the following additional theories

and/or State Causes of Action against Defendant(s) identified in Paragraph nine (9)

above. If Plaintiff(s) include(s) additional theories of recovery, to the extent they

require specificity in pleadings, the specific facts and allegations supporting these

theories must be pled by Plaintiff(s) in a manner complying with the requirements

of the Federal Rules of Civil Procedure.




      WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against

Defendants of compensatory damages, punitive damages, interest, costs of suit, and

such further relief as the Court deems equitable and just, and as set forth in the

Master Long Form Complaint as appropriate.




                                           8
Case 3:23-cv-12383-MAS-RLS Document 4 Filed 11/22/23 Page 9 of 9 PageID: 25




                                 JURY DEMAND

     Plaintiff(s) hereby demand a trial by jury as to all claims in this action.


  Dated: November 22, 2023                       Respectfully Submitted by,

                                                  /s/ Patrick K. Lyons
                                                  Michelle A. Parfitt
                                                  James F. Green
                                                  Patrick K. Lyons
                                                  ASHCRAFT & GEREL, LLP
                                                  1825 K Street NW
                                                  Suite 700
                                                  Washington, DC 20006
                                                  (202) 783-6400
                                                  mparfitt@ashcraftlaw.com
                                                  jgreen@ashcraftlaw.com
                                                  plyons@ashcraftlaw.com

                                                  Counsel for Plaintiff(s)




                                          9
